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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  HASSAN CHUNN; NEHEMIAH McBRIDE;
  AYMAN RABADI by his Next Friend Migdaliz
  Quinones; JUSTIN RODRIGUEZ, by his
  Next Friend Jacklyn Romanoff; ELODIA LOPEZ;                      ORDER
  and JAMES HAIR,                                                  20-cv-1590 (RPK) (RLM)

  individually and on behalf of all others similarly
  situated,
                        Petitioners,

          -against-

  WARDEN DEREK EDGE,

                            Respondent.

  -------------------------------------------------------------X

  RACHEL P. KOVNER, United States District Judge:

          Petitioners seek to publicly file an exhibit from the preliminary injunction hearing in this

  case that contains inmate requests for medical attention during the COVID-19 pandemic.

  See Pet’rs’ Letter (May 18, 2020) (Dkt. #96). Petitioners introduced those requests into evidence

  as Exhibit 88 in support of their motion for a preliminary injunction. Respondent opposes

  petitioners’ request, arguing that the exhibit should be kept under seal principally to protect the

  privacy of the inmates who made the requests. See Resp’t’s Letter (May 20, 2020) (Dkt. #103).

  Intervenor First Look Media Works, Inc., has filed a letter arguing that the exhibit should not be

  kept under seal. Intervenor’s Letter (May 19, 2020) (Dkt. #98).

          Exhibit 88 consists of 210 electronic and paper requests for medical attention, commonly

  referred to as sick-call requests, in which inmates reported symptoms that petitioners identified as

  possibly relating to COVID-19. Respondent redacted the inmates’ names and register numbers

  before producing the sick-call requests in discovery. See Order (Apr. 14, 2020) 4-5 (Dkt. #43).
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  Petitioners have agreed to further redact any information about inmates’ housing units before

  publicly filing the exhibit. See Pet’rs’ Letter 2. I conclude that redacting the inmates’ names,

  register numbers, and housing units—as well as any information about their arrival and departure

  dates—will adequately protect the inmates’ privacy interests. Therefore, petitioners may file

  Exhibit 88 with those redactions.

                                            DISCUSSION

         A common law presumption of access attaches to “judicial documents”—those documents

  filed with the court that are “relevant to the performance of the judicial function and useful in the

  judicial process.” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006)

  (quoting United States v. Amodeo (Amodeo I), 44 F.3d 141, 145 (2d Cir. 1995)); see Brown v.

  Maxwell, 929 F.3d 41, 49 (2d Cir. 2019). In addition, “the public and the press have a ‘qualified

  First Amendment right to . . . access certain judicial documents,’” including those that are “derived

  from or [are] a necessary corollary of the capacity to attend” judicial proceedings as to which there

  is a First Amendment right of access. Lugosch, 435 F.3d at 120 (quoting Hartford Courant Co. v.

  Pellegrino, 380 F.3d 83, 91, 93 (2d Cir. 2004)).

          Notwithstanding these presumptions, judicial documents “may be kept under seal if

  ‘countervailing factors’ in the common law framework or ‘higher values’ in the First Amendment

  framework so demand.” Id. at 124. Under the common law, these countervailing factors must be

  balanced against the weight of the presumption of access to a particular document. The weight of

  the presumption of access, in turn, depends on the “role of the material at issue in the exercise of

  Article III judicial power and the resultant value of such information to those monitoring the

  federal courts.” Mirlis v. Greer, 952 F.3d 51, 59 (2d Cir. 2020) (quoting United States v. Amodeo

  (Amodeo II), 71 F.3d 1044, 1049 (2d Cir. 1995)). Further, when the First Amendment presumption



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  of access applies, restrictions on public access may only be justified with “specific, on the record

  findings” that “closure is essential to preserve higher values and is narrowly tailored to serve that

  interest.” Lugosch, 435 F.3d at 120 (quoting In re New York Times Co., 828 F.2d 110, 116 (2d Cir.

  1987)).

            Exhibit 88 is a judicial document entitled to a presumption of access under both the

  common law and First Amendment. Petitioners submitted Exhibit 88 in support of their motion

  for a preliminary injunction. Cf. id. at 121-24 (finding that a presumption of access under the

  common law and the First Amendment attached to documents filed in connection with a summary

  judgment motion). And Exhibit 88 was relevant to petitioners’ motion. The contents of individual

  sick-call requests—including the symptoms reported and any indicia of delayed responses—are

  relevant to whether respondent has an effective sick-call system in place. And whether respondent

  has an effective sick-call system in place is relevant to petitioners’ argument that MDC officials

  are violating the Eighth Amendment by disregarding a substantial risk of serious harm to inmates

  from COVID-19.

            Balancing the privacy interests at issue in the sick-call documents against the strong

  presumption of access under both the common law and the First Amendment frameworks, I

  conclude that Exhibit 88 can be publicly filed with appropriate redactions. As respondent

  observes, Resp’t’s Letter 2-3, the inmates who submitted the sick-call requests have strong privacy

  interests in identifiable medical information, see United States v. Erie Cty., N.Y., 763 F.3d 235,

  239-241, 244 n.8 (2d Cir. 2014) (suggesting that it would be “especially appropriate” to redact

  “medical information identifiable to particular prisoners” before unsealing certain documents); see

  also Amodeo II, 71 F.3d at 1051 (noting that “illnesses” are among those matters that “weigh more

  heavily against access”). But those privacy interests can be adequately protected by the redaction



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  of inmate names, register numbers, housing units, and arrival and departure dates. It would be

  difficult, if not impossible, to identify inmates based on anonymized reports of symptoms like

  headaches and sore throats. And to the extent that a request includes information about a more

  identifiable condition, anyone who could identify an inmate based on that information alone would

  necessarily be aware of that inmate’s condition already, which significantly undermines the

  argument that the request must be sealed to protect privacy interests.

           Nor are further restrictions justified by the risk that inmates may be identified by their

  handwriting or use of another language. See Resp’t’s Letter 2. Most of the sick-call requests in

  Exhibit 88 are electronic requests, and the few that are handwritten almost exclusively discuss

  concerns that are relatively common and not especially personal. Moreover, the requests are all in

  English or Spanish, which undermines any argument that the inmate submitting the request could

  be identified based on the language used in the request. Fully restricting access to Exhibit 88 is

  too broad a remedy to protect inmates’ privacy interests because those interests can be protected

  through the more narrowly tailored method of redacting names, register numbers, housing units,

  and arrival and departure dates. Accordingly, Exhibit 88 can be filed on the public docket with

  that identifying information redacted.



           SO ORDERED.


                                                 /s/ Rachel Kovner
                                                RACHEL P. KOVNER
                                                United States District Judge

  Dated:          Brooklyn, New York
                  June 11, 2020




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